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                             CENTRAL DISTRICT OF CALIFORNIA
   17

   18 CHRIS FORMOSA, et al.                     Case No. 2:20-cv-08961-MWF-MAA
   19
                          Plaintiffs,
   20                                           ORDER GRANTING STIPULATION OF
        v.                                      DISMISSAL WITH PREJUDICE
   21
        KIA MOTORS AMERICA, INC., et al. Show Cause Hearing: Aug. 18, 2021
   22

   23                     Defendants.          Judge: Michael W. Fitzgerald
   24                                          Action Filed: August 26, 2020
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                                                 1                      2:20-cv-08961-MWF-MAA
                         ORDER RE STIPULATION OF DISMISSAL WITH PREJUDICE
Case 2:20-cv-08961-MWF-MAA Document 21 Filed 11/18/21 Page 2 of 2 Page ID #:103
